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                                              IN THE UNITED STATES DISTRICT COURT
                                             FOR THE EASTERN DISTRICT OF VIRGINIA


           APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
                                                              CRIMINAL RULE 57.4
                        In Case Number 2:09cv232                  Case Name eplus-        Inc. v.   Perfect Commerce,     ct al
                        Party Represented by Applicant: Defendants SciQuest,               inc.     and Lapwn-


    To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                          PERSONAL STATEMENT                                         JUL - 1 2009

    FULL NAME (no initials, please) Bradford Anthony Cangro                                                    CLERK, U.S. DISTRICT COURT
    Bar Identification Number DC 495996, PA 200511, NJ17162Q05                                                        NORFOLK. VA
    Firm Name Morgan, Lewis & Bockius LLP
    Firm Phone # 202.739.3000                        Direct Dial # 202.73 9.5088                     FAX# 202.739.3001
    E-Mail Address      bcanqro@morqanlewis . com
    Office Mailing Address 1111         Pennsylvania Avenue,               N.W.,     Washington,             D.C.   20004


    Name(s) of federal court(s) in which I have been admitted District of Columbia

    I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
    privilege to members of the bar of the Eastern District of Virginia.


    1 have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
    member of the bar.


    1 hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
    and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
    Evidence is current.


    I am       am not      X   a full-time employee of the United States of America, and if so, re^uesUexernption from the admission fee.

                                                                                          (An^ll&ht's Signature)

    1, the undersigned, do certify that 1 am a member of the bar of this Court, not related to the applicant; that I know the applicant
    personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
    examined the applicant's personal statement. 1 affirm that his/tyer/personal and professional character and standing are good, and
    petition the court to admit the applicant pro hac vice.




                                                                 (Typcatw-Brintcd Name)
    Court Use Only:


    Clerk's Fee Paid               or Exemption Granted


    The motion for admission is GRANTED                    or DENIED




                               (Judge's Signature)                                                  (Date)




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